Case 2:11-cr-20551-RHC-MKM ECF No. 954, PageID.4409 Filed 02/05/15 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                           CASE NO. 11-CR-20551
 v.                                                          Hon. Robert H. Cleland

 D-53 NATHAN REED,

                        Defendant.
                                              /

               CONSENT ORDER SETTING SENTENCING AND DEADLINE
                 DATES AND IMPOSING OTHER RESPONSIBILITIES

         IT IS ORDERED as follows:

      1. That the sentencing in this matter be rescheduled until March 6, 2015 at 10:00 a.m.
      2. Not later than February 20, 2015, any request by either party for a departure or variance
         from the Guidelines range must be presented in the form of a motion with a supporting
         brief.
      3. Not later than SEVEN DAYS before sentencing, any opposition to the other party’s
         motion for departure or variance motion must be filed.
      4. That all other provisions of this Honorable Court’s June 23, 2014 Order remain in full
         force and effect.


 ___/s/ Terrance R. Haugabook__________ ___/s/ Loren M. Dickstein_______________
 TERRANCE R. HAUGABOOK (P 44554) LOREN M. DICKSTEIN (P 53508)
 Assistant United States Attorney       Attorney for Defendant
 211 West Fort Street, Suite 2300       2000 Town Center, Suite 2350
 Detroit, Michigan 48226                Southfield, Michigan 48075
 (313) 226-9197                         (248) 263-6800
 Dated: January 28, 2015                Dated: January 28, 2015


         IT IS SO ORDERED.
                                              _s/Robert H. Cleland
                                              HON. ROBERT H. CLELAND
                                              United States District Court Judge

 Dated: February 5, 2015
